                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI


SHANNON FULGHEM

              Plaintiff,
                                                            CASE NO.: 13-CV-276
v.

COMMERCIAL RECOVERY SYSTEMS, INC.,


              Defendant.


                           COMPLAINT AND JURY DEMAND


                                      JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.   This action arises out of the Defendant’s violations of the Fair Debt Collection

     Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”).

                                           VENUE

3.   Venue is proper in this District.

4.   The acts and transactions alleged herein occurred in this Judicial District.

5.   The Plaintiff resides within the Judicial District.

6.   Defendant transacts business within this Judicial District.

7.   The Defendant regularly collects debts by telephone and the mails within this

     Judicial District.




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                                         PARTIES

8.    Plaintiff Shannon Fulghem is a natural person.

9.    Plaintiff resides in the City of Lees Summit, County of Jackson, State of Missouri.

10.   The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3),

      because the debt Defendant is collecting from her is a personal account..

11.   The Plaintiff is an “any person” as that term is used within 15 U.S.C. § 1692 et seq.

      because she is a natural person.

12.   Defendant Commercial Recovery Systems, Inc. is a foreign corporation.

13.   Defendant maintains no Missouri resident agent.

14.   Defendant operates from an address of 8035 RL Thornton Freeway, Suite 220,

      Dallas, Texas 75228.

15.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6),

      because the Defendant regularly attempts to collect, directly or indirectly, debts

      owed or due or asserted to be owed or due another that arose out of transactions in

      which the money, property or services which are the subject of the transactions are

      primarily for personal, family or household purposes.

16.   The principal business of the Defendant is the collection of debts using the mails

      and telephone.

17.   The Defendant regularly attempts to collect, directly or indirectly, debts owed or due

      or asserted to be owed or due another that arose out of transactions in which the

      money, property or services which are the subject of the transactions are primarily

      for personal, family or household purposes.




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                 FACTUAL ALLEGATIONS AND CAUSES OF ACTION

18.   Sometime prior to the filing of the instant action, the Plaintiff incurred a financial

      obligation that was primarily for personal, family or household purposes, namely

      an amount due and owing on a personal account, Defendant’s account #

      3921580 (hereinafter the “Account”).

19.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

20.   The Account went into default with the original creditor.

21.   After the Account went into default the Account was placed or otherwise

      transferred to the Defendant for collection.

22.   The Plaintiff disputes the Account.

23.   The Plaintiff requests that the Defendant cease all further communication on the

      Account.

24.   The Plaintiff is represented by the undersigned attorney with respect to the

      subject debt.

25.   The Plaintiff requests that the Defendant validate the debt pursuant to 15 U.S.C.

      § 1692g.

26.   In the year prior to the filing of the instant action, including but not limited to

      January    through     March   of   2013,   the   Defendant,    acting   through   its

      representatives, employees and/or agents, made telephone calls to the Plaintiff

      and left messages for the Plaintiff at her home telephone #. This number will be

      provided to Defendant or counsel upon request in lieu of listing it here, to protect

      Plaintiff’s privacy.




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27.   Upon information and belief, Defendant kept and possesses recordings of the

      content of telephone calls between Plaintiff and Defendant’s representatives.

28.   Upon     information     and   belief,   Defendant   kept   and   possesses    written

      documentation and/or computer records of telephone calls between Plaintiff and

      Defendant’s representatives.

29.   The purpose of these telephone calls was to attempt to collect the Account.

30.   The telephone calls conveyed information regarding the Account directly or

      indirectly to the Plaintiff.

31.   The telephone calls each individually constituted a “communication” as defined

      by FDCPA § 1692a(2).

32.   The only reason that the Defendant and/or representatives, employees and/or

      agents of the Defendant made telephone calls to the Plaintiff was to attempt to

      collect the Account.

33.   During the telephone calls representatives, employees and/or agents of the

      Defendant failed to identify itself as a debt collector attempting to collect a debt in

      violation of 15 U.S.C. e§1692e preface and e(11).

34.   During the telephone calls representatives, employees and/or agents of the

      Defendant falsely stated “your case is being filed with the county clerk’s office”

      and gave a fictitious case number in violation of 15 U.S.C. § 1692e. No such case

      was filed.




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35.   “The Act [FDCPA] is a strict liability statute; violations of the Act do not need to

      be intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

      F.Supp.2d 836, 840 (D.Az. 2011).

36.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only demonstrate

      “one violation of its provisions” to be entitled to a favorable judgment.” Doshay v.

      Global Credit and Collection Corporation, 796 F.Supp.2d 1301, 1304 (D.Colo.

      2011).

37.   The FDCPA is a remedial statute; it should be construed liberally in favor of the

      consumer. Johnson v. Riddle, 305 F.3d 1107, 1117 (10th Cir. 2002).

38.   The FDCPA allows the consumer to orally dispute a debt. Camacho v. Bridgeport

      Financial Inc., 430 F.3d 1078, 1081 (9th Cir. 2005) and Brady v. The Credit

      Recovery Company, Inc., 160 F.3d 64, 67 (1st Cir.1998).

39.   The FDCPA does not require the consumer to provide any reason at all in order

      to dispute a debt. Sambor v. Omnia Credit Servs., 183 F.Supp. 2d 1234, 1240

      (D. Haw. 2002).

40.   A consumer is entitled to dispute the validity of a debt for a good reason, a bad

      reason, or no reason at all. Mendez v. M.R.S. Assoc., 2004 WL 1745779, page 2

      (N.D.Ill. August 3, 2004).

41.   As a consequence of the Defendant’s collection activities and communications,

      the Plaintiff has suffered damages, including emotional distress.



                             JURY TRIAL DEMAND




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The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

Fed. R. Civ. Pro. 38.



                         DESIGNATION OF PLACE OF TRIAL

     Plaintiff requests Kansas City, Missouri as the place of trial.



                                           PRAYER

WHEREFORE, the Plaintiff prays that the Court grants the following:

1.     Actual damages under 15 USC § 1692k(a)(1).

2.     Statutory damages under 15 USC § 1692k(a)(2)(A).

3.     Reasonable attorneys fees and costs pursuant to 15 USC § 1692k(a)(3).

4.     A finding that Defendant violated the FDCPA.

5.     Such other and further relief as the Court deems just and proper.



                                             Respectfully submitted,

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